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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

for the
Southem District of New York

ANASTASIA V|TKINA

 

Plaintzf'(s)

v. Civil Action No.

ABRAHAM BENALLOUL

 

V\/\/\'/\./\./\/\/\_/Vv\/

Defendant(s)
SUMMONS IN A CIVIL ACTION

TOI (Defendant 's name and address) Abraham B€nallOUl
2301 Co||ins Avenue, Apt. 1605
Miami Beach, FL 33139

A lawsuit has been filed against you.

Within 21 days after service of this Surnmons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. l2 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attomey,
whose name and address are: Martin E. Karlinsky, Esq.

Karlinsky LLC
103 Mountain Road
Comwa||-on~Hudson, NY 12520

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must tile your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk

